                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA
                          WINSTON-SALEM DIVISION


 FEDERAL TRADE COMMISSION, et
 al.,

                      Plaintiffs,

               v.

 SYNGENTA CROP PROTECTION AG,
 SYNGENTA CORPORATION,                           CASE NO. 1:22-CV-828-TDS-JEP
 SYNGENTA CROP PROTECTION, LLC

 and

 CORTEVA, INC.,



                      Defendants.


                DEFENDANT CORTEVA’S UNOPPOSED MOTION
                      TO CONTINUE HEARING TIME

       Defendant Corteva, Inc., by and through its undersigned attorneys and pursuant to

Local Rules 6.1(b) & 7.3(j)(3), respectfully moves for a continuance of the hearing on

motion to strike jury demand and cross-motion for jury trial currently noticed for February

28, 2025, at 10:00 a.m. (the “Hearing”). Doc. 305. Corteva, Inc. seeks a one-hour

continuance of the Hearing until 11:00 a.m. on the same date.

       In support of this Motion, Corteva, Inc. states as follows:

       (1)    Defendant Corteva, Inc. has retained counsel based in New York, NY, and

counsel based in Raleigh, NC.


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       (2)    Defendant Corteva, Inc. plans to have its New York based counsel undertake

the greater share of argument during the Hearing.

       (3)    Corteva, Inc.’s New York based counsel will be flying into Charlotte the

morning of February 28, 2025.

       (4)    There are no flights that would accommodate timely arrival for a 10:00 a.m.

hearing on February 28, 2025.

       (5)    Corteva, Inc. respectfully requests a short continuance of one hour to allow

additional time for its counsel to arrive timely and provide oral advocacy.

       (6)    Corteva, Inc. makes this request reasonably in advance of the hearing date,

as required by Local Rule 6.1(b).

       (7)    The requested continuance does not affect any other scheduled dates or

deadlines.

       (8)    This Motion is made in good faith and not for the purpose of delay, no party

to this proceeding will be prejudiced, and good cause exits for granting this Motion.

       (9)    Pursuant to LR 6.1(b), undersigned counsel for Corteva, Inc. has consulted

with counsel for Plaintiffs, the Federal Trade Commission, and Plaintiffs do not oppose the

continuance requested in this Motion.

       (10)   A proposed Order is submitted herewith.

       WHEREFORE, Corteva, Inc. respectfully requests that this Court enter an Order

granting a one-hour continuance, causing the date and time for the Hearing to become

February 28, 2025, at 11:00 a.m.



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  Respectfully submitted this 13th day of February, 2025.

                                     MCGUIREWOODS LLP

                             By:      /s/ Mark E. Anderson
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                            CERTIFICATE OF SERVICE

      I hereby certify that on this 13th day of February, 2025, I caused the foregoing

UNOPPOSED MOTION TO CONTINUE HEARING TIME, and all attachments thereto,

to be filed electronically with the Clerk of Court via the Court’s CM/ECF system. Counsel

for all parties in this case are registered CM/ECF users and will be served by the CM/ECF

System.


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